 

Case 1:15-cv-OOO45 Document 16 Filed in TXSD on 08/20/15 Page 1 of 1

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Southom District of 'f¢xa
IN THE UNITED sTATEs DISTRICT COURT ENTERE°
soUTHERN DISTRICT oF TEXAS AUG 2 0 2015
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RAUL CHAPA AND ELOISA CHAPA § W“' J' B"‘"‘¥- "’*°°"°'°°"'*
VS. § Civil Action l:lS-cv-O()()45
STATE FARM LLOYDS §

FINAL JUDGMENT ON DEFENDANT’S OFFER OF JUDGMENT

This civil action was commenced on January 28, 2015 by Plaintiffs RAUL CHAPA AND
ELOISA CHAPA in the 197th Judicial District Court of Willacy County, Texas, and Defendant
STATE FARM LLOYDS appeared and answered after having been served with citation.
Defendant STATE FARM LLOYDS removed this action to this U.S. District Court on diversity
of citizenship grounds.

The Defendant offered by written notice served on the Plaintiffs to permit judgment
against it in the amount of $9,500.00 (nine thousand five hundred and no/ 100 dollars) inclusive
of all costs now accrued, interest, and attomey’s fees. The Plaintiffs timely served written notice
on the Defendant that they were accepting the Defendant’s offer of judgmentl The Plaintiffs filed
with the clerk of this court a copy of the Defendant’s offer of judgment and a copy of the
Plaintiffs’ acceptance of the offer together with proof of service of the acceptance. Based on this,
the court makes the following order:

IT IS ORDERED that Defendant STATE FARM LLOYDS is liable to Plaintiffs, as
alleged by Plaintiffs in their petition, and the Plaintiffs RAUL CHAPA and ELOISA CHAPA
shall have and recover of and from Defendant STATE FARM LLOYDS actual damages in the
sum of $9,500.00 (Nine Thousand Five Hundred And No/ 100 Dollars) inclusive of all costs now
accrued, interest, attomey’s fees.

IT IS ORDERED that this judgment hereby rendered shall bear interest at the rate of six
percent (6%) per annum, compounded annually from the date this judgment is signed by the
court, until paid

Plaintiff is allowed such writs and processes as may be necessary in the enforcement and
collection of this judgment

This is a final judgment disposing of all parties and all claims.

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sIGNEDthiS go dayof &u§oo`\" ,2015.

U.S. DISTRICT JUDGE PRESIDING

 

 

